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 9   Counsel for Plaintiff Amanda Davis

10   [Additional Counsel on Signature Page]
11                                 UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
                                        OAKLAND DIVISION
13
14    AMANDA DAVIS, individually and on          Case No. 4:22-cv-00985-JST
      behalf of all others similarly situated,
15
                                                 JOINT STIPULATION AND [PROPOSED]
16                  Plaintiff,                   ORDER FOR CONSOLIDATION AND
                                                 SETTING DEADLINES
17      vs.
18
      NATERA INC.,
19
                    Defendant.
20
21
      AMANDA LAW, individually and on            Case No. 4:22-cv-01162-JST
22    behalf of all others similarly situated,
23                  Plaintiff,
24
        vs.
25
      NATERA INC.,
26
27                  Defendant.

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              JOINT STIPULATION AND [PROPOSED] ORDER FOR CONSOLIDATION AND
                                    SETTING DEADLINES
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 1          WHEREAS, there are currently two related proposed class actions currently pending in the
 2   Northern District of California: (1) Davis v. Natera, Inc., Case No. 4:22-cv-00985-JST (N.D. Cal. filed
 3   Feb. 17, 2022) (“Davis Action”), and (2) Law v. Natera, Inc., Case No. 4:22-cv-01162-JST (N.D. Cal.
 4   Filed Feb. 24, 2022) (“Law Action”), both pending before the Honorable Jon S. Tigar;
 5          WHEREAS, Plaintiffs in the Davis and Law Actions, along with Defendant Natera, Inc. (who
 6   has not yet appeared in the action), (together, the “parties”), by and through their respective counsel,
 7   agree that consolidation of the Davis and Law Actions is appropriate because the Actions involve
 8   common questions of law and fact in that each involves claims including fraudulent concealment or
 9   omission, breach of implied warranty, and unjust enrichment asserted against Natera, Inc. based on
10   allegations that Natera, Inc. misrepresented the accuracy of its prenatal testing product, Panorama;
11          WHEREAS, Natera, Inc. is currently obligated to respond to the Davis complaint on March 21,
12   2022 (see ECF 13), and is currently obligated to respond to the Law complaint on March 30, 2022;
13          WHEREAS, in view of the parties’ stipulation to consolidate, the parties propose, subject to
14   Court approval, that this Action proceed on the following schedule: Plaintiffs will file a consolidated
15   complaint within thirty days after entry of an order consolidating the Davis and Law Actions; Defendant
16   will answer or otherwise respond within thirty days after the filing of the consolidated complaint; if the
17   response is by motion, Plaintiffs’ opposition will be due thirty days after the motion is filed; and
18   Defendant’s reply will be due twenty-one days after the opposition is filed;
19          WHEREAS, the Davis and Law Actions are the only federal actions that the parties are aware of
20   arising out of allegations that Natera, Inc. misrepresented the accuracy of its prenatal testing product,
21   Panorama; and
22          WHEREAS, the parties agree that if Defendant answers, moves, or otherwise responds to any
23   other action filed in, transferred or removed to this Court arising out of allegations that Natera
24   misrepresented the accuracy of its prenatal testing product before its deadline to respond to the
25   consolidated complaint, it must concurrently answer, move, or respond to: (1) the consolidated
26   complaint; or (2) if the consolidated complaint has not been filed, the complaints in the Davis and Law
27   Actions;
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 1          NOW THEREFORE, the parties through their respective counsel and subject to the Court’s
 2   approval hereby stipulate that:
 3          1.        The following Actions pending in this District, and any other action arising out of the
 4   same or similar operative facts now pending or hereafter filed in, removed to, or transferred to this
 5   District shall be consolidated for all purposes, including pretrial proceedings, trial, and appeal, pursuant
 6   to Federal Rule of Civil Procedure 42(a) (hereafter the “Consolidated Action”):
 7                   Davis v. Natera, Inc., Case No. 4:22-cv-00985-JST; and
 8                   Law v. Natera, Inc., Case No. 4:22-cv-01162-JST.
 9          2.        All papers filed in the Consolidated Action must be filed under Case No. 4:22-cv-00985-
10   JST, the number assigned to the first-filed case, and must bear the following caption:
11                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
12
         IN RE NATERA PRENATAL TESTING                     Case No. 4:22-cv-00985-JST
13
         LITIGATION
14
15          3.        The case file for the Consolidated Action will be maintained under Master File No. 4:22-
16   cv-00985-JST.
17          4.        The Clerk is directed to administratively close the following related case:
18                   Law v. Natera, Inc., Case No. 4:22-cv-01162-JST
19          5.        Any proposed class action subsequently filed in, transferred or removed to this Court that
20   arises out of the same or similar operative facts as the Consolidated Action will be consolidated with the
21   Consolidated Action.
22          6.        The following deadlines will be set:
23                    (a)    Plaintiffs will file a consolidated complaint within thirty days after entry of this
24                           stipulation to consolidate the Davis and Law Actions;
25                    (b)    Defendant will answer or otherwise respond within thirty days after the filing of
26                           the consolidated complaint;
27                    (c)    If the response is by motion, Plaintiffs’ opposition will be due thirty days after the
28                           motion is filed; and

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 1                  (d)    Defendant’s reply will be due twenty-one days after the opposition is filed.
 2          7.      If, during the course of the schedule outlined in paragraph 6, Defendant answers,
 3   responds, or moves to dismiss a complaint filed in, transferred or removed to this Court arising out of
 4   allegations that Natera misrepresented the accuracy of its prenatal testing product, Defendant will
 5   answer, move, or respond to: (1) the consolidated complaint; or (2) if the consolidated complaint has
 6   not been filed, the complaints in the Davis and Law Actions, no later than the same date on which
 7   Defendant responds to the other action(s).
 8          8.      If Defendant answers, responds or moves to dismiss another complaint arising out of
 9   allegations that Natera misrepresented the accuracy of its prenatal testing product which is not filed in
10   this Court during the course of the schedule outlined in paragraph 6, the parties agree to use their best
11   efforts to coordinate discovery and the resolution of common legal issues existing between those actions
12   not filed in this Court and those matters pending in this Court.
13          IT IS SO STIPULATED.
14
15                                                     Respectfully submitted,
16   Dated: March 21, 2022                             /s/ Adam E. Polk
17                                                     GIRARD SHARP LLP
18                                                     Dena C. Sharp (SBN 245869)
                                                       Adam E. Polk (SBN 273000)
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25                                                     Counsel for Plaintiff Amanda Davis

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             JOINT STIPULATION AND [PROPOSED] ORDER FOR CONSOLIDATION AND
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 1   Dated: March 21, 2022                 BURSOR & FISHER, P.A.
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20                                         Counsel for Plaintiff Amanda Law
21
22
23   Dated: March 21, 2022                 NATERA, INC.

24                                         By: /s/ Adam M. Tschop
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                                          4
            JOINT STIPULATION AND [PROPOSED] ORDER FOR CONSOLIDATION AND
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 1                                     FILER’S ATTESTATION
 2          Pursuant to Civil L.R. 5-1(i)(3), regarding signatures, I, Adam E. Polk attest that concurrence in
 3   the filing of this document has been obtained.
 4    Dated: March 21, 2022                                           /s/ Adam E. Polk
                                                                        Adam E. Polk
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 6
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 8                                          [PROPOSED] ORDER
 9          PURSUANT TO STIPULATION, IT IS SO ORDERED.
10
11
12
13    Dated: _______________
14                                                          HONORABLE JON S. TIGAR
                                                          UNITED STATES DISTRICT JUDGE
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             JOINT STIPULATION AND [PROPOSED] ORDER FOR CONSOLIDATION AND
                                   SETTING DEADLINES
                                  CASE NO. 4:22-cv-00985
